                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                           No. 19-CR-4440 MV

NICHOLOUS PHILLIPS,

               Defendant.

                            MEMORANUM OPINION AND ORDER

       THIS MATTER is before the Court on the government’s opposed Motion for a

Lafler/Frye Hearing. Doc. 46. In it, the government asks the Court to order a hearing before a

United States Magistrate Judge for the purpose of inquiring whether defense counsel adequately

communicated the government’s plea offer to Mr. Phillips. Id. at 1. The government represents

that it has extended a formal plea offer to Mr. Phillips twice by emailing letters describing the offer

to Mr. Phillips’ previous and current defense counsel. Id. Both times, defense counsel informed

the government that Mr. Phillips had rejected the offer. Id. at 1–2. To “protect against any future

claim of ineffective assistance of counsel on this issue,” the government now requests that the

Court “direct a magistrate judge to inquire on the record at a hearing whether defense counsel

informed [Mr. Phillips] of the United States’ plea offer and whether [he] chose to reject this offer.”

Id. at 2. It additionally asks the Court to direct the magistrate judge to make the two plea offer

letters sealed exhibits at the hearing and to verify that Mr. Phillips and defense counsel discussed

the terms of the letters before rejecting the government’s proposed resolution. Id.

       In response, Mr. Phillips acknowledges receiving and rejecting the government’s offer

through his previous and current defense counsel. Doc. 53 at 1–2. He also represents that he made

a counteroffer to the government, which it rejected. Id. at 2. He nevertheless argues that the

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government’s request for a Lafler-Frye hearing should be denied because the government’s motion

“does not cite to any basis that would warrant a hearing on this issue” such as an act or omission

by defense counsel during plea negotiations that constitutes ineffective assistance of counsel. See

id.

       The Court finds that the government is entitled to the requested hearing. As their name

suggests, Lafler-Frye hearings arose out of the Supreme Court’s twin decisions in Lafler v. Cooper,

566 U.S. 156 (2012) and Missouri v. Frye, 566 U.S. 134 (2012), released on the same day in 2012.

In Lafler, the Court held that a defendant had received ineffective assistance of counsel where his

attorney’s advice to reject a plea offer and go to trial resulted in him receiving a sentence 3.5 times

longer than he would have received under the offer. See Lafler, 566 U.S. at 174. And in Frye, the

Court held that a defense attorney renders ineffective assistance of counsel if they fail to advise

their client of a plea offer from the government before the offer expires. See Frye, 566 U.S. at

145. Recognizing that this holding could result in a flood of motions from defendants claiming

that they had not been so advised, the Court in Frye declared that “[t]he prosecution and the trial

courts may adopt some measures to help ensure against late, frivolous, or fabricated claims after a

later, less advantageous plea offer has been accepted or after a trial leading to conviction with

resulting harsh consequences.” Id. at 146. For example, the Court noted, “formal offers can be

made part of the record at any subsequent plea proceeding or before a trial on the merits, all to

ensure that a defendant has been fully advised before those further proceedings commence.” Id.

       Based on this language, a number of courts have held that the government is entitled to a

“Lafler-Frye” hearing for the purpose of establishing on the record that any plea offers they have

made have been properly communicated to the defendant. See, e.g., United States v. Begay, No.

14-CR-0747, 2020 WL 2514661, at *39 (D.N.M. May 15, 2020) (Browning, J.) (unpublished);



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United States v. Morgan, 294 F. Supp. 3d 1218, 1226–27 (D.N.M. 2018) (Johnson, CJ.); United

States v. Pirk, 236 F. Supp. 3d 796, 799–801 (W.D.N.Y. 2017). As long as the colloquy at the

hearing does not stray beyond the subject of the plea offer, its terms, and defense counsel’s

communication of the offer to the defendant, such a hearing does not implicate the defendant’s

Fifth Amendment rights, Rule 11(c)(1) of the Federal Rules of Criminal Procedure, or the attorney-

client privilege. See Morgan, 294 F. Supp. 3d at 1223–26.

       The Court follows these and other courts in finding that the government is entitled to the

requested Lafler-Frye hearing to make a record of the offer it extended to Mr. Phillips and the fact

that he was advised of the offer by defense counsel prior to rejecting it. Contrary to Mr. Phillips’

argument in his response, the government does not need to show evidence of ineffectiveness to

warrant such a hearing. See Doc. 53 at 2. After all, the very purpose of the hearing is to establish

for the record that defense counsel was not ineffective in his representation of Mr. Phillips with

regard to the government’s plea offer. See Frye, 566 U.S. at 146.

       The Court will also refer the matter to a magistrate judge to conduct the Lafler-Frye

hearing, as requested by the government and as allowed by Rule 59 of the Federal Rules of

Criminal Procedure. See Fed. R. Crim. P. 59(a) (“A district judge may refer to a magistrate judge

for determination any matter that does not dispose of a charge or defense. The magistrate judge

must promptly conduct the required proceedings and, when appropriate, enter on the record an oral

or written order stating the determination.”). At the hearing, the magistrate judge should conduct

an inquiry on the record to determine whether the government extended a plea offer to Mr. Phillips,

whether Mr. Phillips was timely advised of the offer and its terms by defense counsel, and whether

Mr. Phillips knowingly rejected the offer after being advised of it. To satisfy the concerns

expressed in Lafler and Frye, the terms of the government’s offer should also be made part of the



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record, either through a recitation of those terms at the hearing or through a sealed exhibit

submitted by the government upon a showing by the government of “some significant interest that

outweighs the presumption in favor of open access to judicial records.” Morgan, 294 F. Supp. 3d

at 1226 (citations and internal quotations omitted).

                                         CONCLUSION

        For the reasons stated above, the government’s Motion for a Lafler/Frye Hearing [Doc. 46]

is hereby GRANTED. The Court accordingly refers this matter to a United States Magistrate

Judge under Rule 59 of the Federal Rules of Criminal Procedure to hold a hearing consistent with

this order.

Dated this 13th day of July, 2020.



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                                                 MARTHA VÁZQUEZ
                                                 UNITED STATES DISTRICT JUDGE




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